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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF RHODE ISLAND


 MIDFIRST BANK,
           Plaintiff

 v.                                                                CASE No. _______________

 VINCENT R. COWEN,
             Defendant
 __________________________________________/
                            NOTICE OF AVAILABILITY
                 OF LOSS MITIGATION AND MEDIATION PROGRAMS

       Consistent with the equitable nature of this judicial foreclosure proceeding brought by the

Plaintiff pursuant to R.I. Gen. Laws §34-27-1, Plaintiff wishes to apprise the Court, and Vincent

R. Cowen as the Defendant-Mortgagor in this case, of Plaintiff’s preparedness to consider the

Defendant-Mortgagor’s eligibility for foreclosure alternatives, including modification of the

mortgage loan, and/or to participate in mediation.

       In the Complaint, Plaintiff has prayed for an order staying proceedings in the case for a

period of sixty (60) days IF the Defendant-Mortgagor appears in the action at any time prior to the

entry of a default against him to allow the parties sufficient time to explore the Defendant-

Mortgagor’s eligibility for loss mitigation options or to engage in mediation. Of course, absent a

court order requiring them to do so, the Defendant-Mortgagor is under no obligation to participate

in either process. If the Defendant-Mortgagor is prepared to participate in either loss mitigation or

mediation, Plaintiff requests that the Defendant-Mortgagor so inform the Court and Plaintiff’s

undersigned attorney in writing within thirty (30) days of the date this Notice is served upon him



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                                         Loss Mitigation

       Plaintiff has government sponsored and/or proprietary loss mitigation products available

to eligible applicants to enable them to either retain the Property or avoid foreclosure. Some loss

mitigation outcomes result in the applicant’s retention of the Property, such as when lender and

borrowers enter into a loan modification. Other outcomes such as deeds-in-lieu of foreclosure or

short sales may also be available. To determine the Defendant-Mortgagor’s eligibility, the

Defendant-Mortgagor must submit a completed application for loss mitigation to Plaintiff’s

undersigned counsel, or to the loan servicer for Plaintiff, MidFirst Bank. A completed application

includes, without limitation, copies of the required number of pay stubs, bank statements,

government award letters, income tax returns and other documents to substantiate the income and

expenses recited by the applicant in the application. An application will be provided upon the

Defendant-Mortgagor’s request for same addressed to Plaintiff’s attorney, whose name and contact

information appear below. The submittal of a completed application is no guarantee of eligibility

for any loss mitigation outcome.

                                            Mediation

       Mediation offers a mechanism for resolving the parties’ issues in a manner that is less

formal and often more expedient than the court process. Mediations are not always successful. If

the parties do not reach a mutually acceptable resolution of the case in mediation, the parties can

resume the court process and litigate in accordance with applicable law and the Federal Court

Rules of Civil Procedure. Typically, the parties attempt to agree on the selection of a mediator or

ask the Court to assist in the selection of a mediator. Discussions had before the mediator and

outside the presence of the Court are confidential and may not be used against the other party

should formal litigation resume.


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       NOTHING IN THIS NOTICE IS MEANT TO INFER OR SHOULD BE DEEMED TO

CREATE ANY OBLIGATION IN THE DEFENDANT-MORTGAGORS WHATSOEVER TO

PARTICIPATE IN LOSS MITIGATION OR MEDIATION. RATHER, THIS NOTICE IS

MEANT TO INFORM THE COURT AND THE DEFENDANT-MORTGAGOR OF

PLAINTIFF’S WILLINGNESS TO ENGAGE IN EITHER PROCESS SHOULD THE

DEFENDANT-MORTGAGOR APPEAR IN THE ACTION AT ANY TIME PRIOR TO THE

ENTRY OF A DEFAULT AGAINST HIM OR AS MAY OTHERWISE BE REQUIRED BY

LAW.



Dated: March 30, 2022                     Respectfully submitted,
                                          Midfirst Bank
                                          By its attorney,

                                          /s/ Catherine V. Eastwood
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